 Case 5:24-cv-02058-KK-SP      Document 32-1       Filed 07/10/25   Page 1 of 2 Page ID
                                       #:453



1    BURSOR & FISHER, P.A.
     L. Timothy Fisher (State Bar No. 191626)
2    1990 North California Blvd., 9th Floor
     Walnut Creek, CA 94596
3    Telephone: (925) 300-4455
4    Facsimile: (925) 407-2700
     E-mail: ltfisher@bursor.com
5
     BURSOR & FISHER, P.A.
6    Max S. Roberts (Pro Hac Vice)
7    1330 Avenue of the Americas, 32nd Floor
     New York, NY 10019
8    Telephone: (646) 837-7150
     Facsimile: (212) 989-9163
9    E-mail: mroberts@bursor.com
10   Class Counsel
11
12                         UNITED STATES DISTRICT COURT
13                       CENTRAL DISTRICT OF CALIFORNIA
14
     LINDSY SAARLOOS, individually and                  Case No. 5:24-cv-2058
15   on behalf of all others similarly situated,
                                                        DECLARATION OF MAX S.
16                                  Plaintiff,          ROBERTS IN SUPPORT OF
                                                        PLAINTIFF’S MOTION FOR
17         v.                                           FINAL APPROVAL OF CLASS
18                                                      ACTION SETTLEMENT
     THE COWBOY CHANNEL, LLC,
19                                                     Date: August 7, 2025
                                                       Time: 10:00 a.m.
20                                 Defendant.          Ctrm: 3
21                                                     Judge: Hon. Kenly Kiya Kato

22
23
24
25
26
27
28
     DECLARATION OF MAX S. ROBERTS
     CASE NO. 5:24-CV-2058-KK-SP
 Case 5:24-cv-02058-KK-SP     Document 32-1     Filed 07/10/25   Page 2 of 2 Page ID
                                      #:454



1          I, Max S. Roberts, declare as follows:
2          1.     I am an associate at Bursor & Fisher, P.A., who is Class Counsel and
3    counsel for Plaintiff Lindsy Sarloos in this action. I am an attorney at law licensed to
4    practice in the State of New York and admitted pro hac vice in this action. I have
5    personal knowledge of the facts set forth in this declaration and, if called as a
6    witness, I could and would testify competently thereto.
7          2.     I submit this declaration in support of Plaintiff’s Motion for Final
8    Approval of Class Action Settlement.
9          3.     For the sake of efficiency, I incorporate the statements and exhibits in
10   my prior Declaration in Support of Plaintiff’s Motion for Attorneys’ Fees, Costs,
11   Expenses, and Service Award (ECF No. 31-1).
12         4.     Other than the Settlement, there are no agreements between Plaintiff,
13   Class Counsel, and Defendant pursuant to Fed. R. Civ. P. 23(e)(2)(C)(iv).
14         5.     Since my May 22, 2025 Declaration, Class Counsel has incurred an
15   additional $1,510.98 in expenses related to travel arrangements for the Final
16   Approval Hearing.      Accordingly, Class Counsel has now incurred a total of
17   $8,656.90 in costs and expenses related to the prosecution of this action.
18         I declare under penalty of perjury that the foregoing is true and correct.
19   Executed on July 10, 2025 in Walnut Creek, California.
20
21                                                         Max S. Roberts
22
23
24
25
26
27
28
     DECLARATION OF MAX S. ROBERTS                                                        1
     CASE NO. 5:24-CV-2058-KK-SP
